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                            UNITED STATES BANKRUPTCY COURT

                                      DISTRICT OF ALASKA


      In the matter of:
                                                        Misc. Case No. 06-60001-GS
      REQUEST FOR EXEMPTION
      FROM PACER FEES.

           ORDER DENYING REQUEST FOR EXEMPTION FROM PACER FEES

             This matter is before the court upon the application and request by Benjamin

      Iverson (Application) for exemption from the fees imposed by the Electronic Public

      Access fee schedule adopted by the Judicial Conference of the United States Courts.

             Having reviewed the Application,

             IT IS HEREBY ORDERED that the Application is DENIED, without prejudice.

      The request in the Application is overly broad.

             A copy of this Order shall be sent to the PACER Service Center.

             DATED this 15th day of October, 2020.

                                                        /s/ Gary Spraker_______________
                                                        GARY SPRAKER
                                                        United States Bankruptcy Judge

      Serve: Benjamin Iverson at biverson@byu.edu
             Janet Stafford, Clerk of Court
             PACER Service Center at pacer@psc.uscourts.gov
